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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

UNITED STATES OF AMERICA

      Plaintiff,

v.                                    Case No. 6:21-cr-138-Orl-ACC-EJK

JAMES ADAMCZYK, et al.

      Defendant.

____________________________________/

                    NOTICE OF LIMITED APPEARANCE
                   FOR DEFENDANT, JAMES ADAMCZYK


TO: THE HONORABLE COURT:

      COME NOW the undersigned attorneys, VICTOR L. CHAPMAN,

ESQUIRE and CARLOS A. PEREZ-IRIZARRY, ESQUIRE, and state that we

are admitted or otherwise authorized to practice in this Court and hereby enter our

Limited Notice of Appearance for purposes of initial appearance, bond hearing, and

arraignment for Defendant, JAMES ADAMCZYK, in this matter.



      DATED this 15th day of November, 2021.
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                                          Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on November 15, 2021, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send

a notice of electronic filing to all CM/ECF participants.


                                     By: /s/ Victor L. Chapman
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